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                           *                                    *
                                                                *




                 Appeal to the Judicial
                     Committee
           RE: INSUFFICIENT NOTICE OF BUSINESS CONDUCTED AT
          CANDIDATE NOMINATING CONVENTION ON JULY 9 2022 –
                         SUPPORTING ARGUMENTS
                         Andrew Chadderdon | December 2, 2022



                                    EXHIBIT 67
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    Timeline of Events
    5/16/2022 – First LPMI Candidate Training Seminar held by Andrew Chadderdon

    5/29/2022 – Closure of the 2022 Libertarian National Convention

    6/13/2022 – Regular meeting of the LEC – Attempt to pass “Condemn Bigotry + disavow LNC”
    resolution

    6/14/2022 – Second LPMI Candidate Training Seminar held by Andrew Chadderdon

    6/14/2022 – Resignation of Brandon Warzybok and Jami Van Alstine from District Representative
    positions on LEC

    6/15/2022 – Resignation of Tim Yow and Ben Boren from Chair and 1st Vice Chair of LEC

    6/18/2022 – Submission of first analysis of governing documents and assertions regarding handling
    of the resignations by Andrew Chadderdon

    6/19/2022 – Submission of Motion of No Confidence in Andrew Chadderdon by Dave Canny to
    members of the LEC

    6/20/2022 – Special Meeting of the LEC (called in 6/13/2022 Regular Meeting)

    6/22/2022 – Special Meeting of the LEC

    6/29/2022 – Dave Canny sends Motion of No Confidence to entire party

    6/29/2022 – Special Meeting of the LEC

    7/5/2022 – Special Meeting of the LEC

    7/9/2022 – 2022 LPMI Candidate Nominating Convention




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    Background
    At the 2022 LNC, the Mises Caucus was successful in electing leadership of the LP, and further
    made updates to the platform of the national party, which by extension is part of the LPMI
    platform. Tim Yow later informed members of the party that he made his decision to resign from
    the party on his flight home (had he informed members right away, it would have allowed notice
    requirements to be met to hold elections at the July 9 Convention).

    At the June 13 meeting of the LEC, Brian Ellison introduced the motion below to the LEC. It failed,
    at least in part because it attempted to assert that there could have been a motive in the platform
    change to allow recruiting of bigots, and further suggested that the LPMI should seek to separate
    from the views of the national LP.


                               Today at 11:40 AM
               Here is the resolution I will be introducing this evening:
               WHEREAS, The 2022 Libertarian National Convention
               delegation voted to amend plank 3.5 (Rights and
               Discrimination) in the national platform by removing the
               line, "We condemn bigotry as irrational and repugnant"
               and replacing it with "We uphold and defend the rights of
               every person, regardless of their race, ethnicity, or any
               other aspect of their identity";


               WHEREAS, Whether true or not, many groups and
               individuals now believe the Libertarian National Committee
               to be led by those who condone bigotry, and furthermore
               believe this softening in verbiage to be a mechanism to
               recruit new members who may condone bigotry; and


               WHEREAS, The Libertarian Party of Michigan wishes to
               separate itself from any such notion and make a strong
               statement to the contrary; now, therefore, be it


               RESOLVED,That the Libertarian Party of Michigan
               condemns bigotry as irrational and repugnant. (edited)

    After the motion failed, there were the 4 resignations of Brandon Warzybok, Jami Van Alstine, Tim
    Yow, and Ben Boren over the following 2 days.




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    Initial Handling
    After the resignations of several members of the LEC on June 14-15, it was unclear how filling of the
    vacancies should be handled. I immediately began researching the handling, by contacting all
    knowledgeable people that I could. I contacted several members of the LPMI, and in the national
    LP. After initial contact with a parliamentarian, it became clear that the LPMI bylaws had
    extensive problems with them.

    I reached out to others, including Bill Hall, who informed me of the existence of LPMI Corporate
    Bylaws. After consulting with him and others in the party, I believed the corporate bylaws to be
    valid and in effect. However, due to institutional failings in the party, not a single member of the
    current LEC had been aware of their existence. Bill Hall later confirmed their validity, as did other
    members, by providing the executed copies of the corporate charter, corporate bylaws, and records
    in the minutes from the past showing their adoption.

    As of Jun 18, 2022, I presented the findings of my investigation to the LEC, see Appendix A for the
    documentation submitted at this time. In preparing the initial assessment, it was an open question
    whether the resignations had taken effect and I was the chair, or whether it required an act of the
    convention, and I was only the “Acting Chair”. Assessing this situation, the implication in the
    immediate term was no different in the practical meaning, so believing the Corporate Bylaws would
    take precedence, it was my ruling at the time that the resignations were in effect, and I had become
    chair. Tim Yow and Ben Boren did not contest this claim at any point with the intent to assert that
    either of them would be chair.

    The analysis was met with minimal critical assessment, and mostly with personal attacks and
    character assassinations.



    Attempt to hire Attorney and Parliamentarian
    Following the initial assessments, and resulting from the problems with our bylaws, and the
    ambiguities between the LPMI bylaws and the corporate bylaws, it became clear that we needed to
    hire professional help to clarify the situation and determine what specifically was the correct
    handling. Given the implication of the LPMI Executive Committee having been incorporated as a
    Non-Profit Corporation under Michigan law, it prevented any parliamentarian from making an
    opinion on a matter involving a question of law.

    I sought referrals for attorneys, including from Bill Hall (including asking him if he wished to
    conduct that analysis as an attorney, which he declined), and ultimately got 2 referrals, one for Mr.
    Eric Doster, and another attorney who didn’t respond to my inquiries. Given the limited time until
    convention, I proceeded to seek to hire Mr. Doster.

    I had also received a referral for Mr. Steve Britton to consult as a Parliamentarian. He was the 2021
    National Association of Parliamentarians, Bylaws Committee Chair, which gave him very good
    qualifications to consult on the topics in question.

    An LEC meeting was held on 2022.06.29, for the purpose of considering authorization of funds to
    hire both individuals. Given the short time available before convention, I sought worst case



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    estimates for the cost to assess the matter. In that meeting, it was ultimately approved only to hire
    Mr. Doster for a 2-hour consultation. It was rejected to provide any funding to hire a
    parliamentarian.



    Consultation with Attorney
    The LEC special meeting on 2022.07.05 was held to host Mr. Eric Doster for a summary of his
    assessments and a question-and-answer session. While Mr. Doster gave parliamentary
    interpretations through many parts of the meeting, much of the time based on faulty assumptions
    that were provided by members of the board, he made a few key statements that determine the
    correct handling. In his opening remarks, he made clear that he had received no guidance on what
    to find, and had only been provided with the input documents, and asked to assess. He also
    mentioned that due to the short analysis period, he would have some “knowledge-gaps”,
    specifically including requirements for notice. This was a key consideration, and a qualification
    that needed to be considered with all his following statements. He then gave an interpretation on
    what had been one of the primary questions of law, stating that the corporate bylaws and Michigan
    statutes for Non-Profit Corporations would never overrule the organizations bylaws and RONR. In
    response to further questions by members of the board, he gave his opinion on how to handle some
    of the challenging situations before the board, and in some of those scenarios indicated it was
    accepted to consider elections of board members and removal via motion of no confidence. Given
    that notice requirements are key to the legality of the actions performed at a special convention, his
    qualification from the beginning of his statements did change the conclusion for these scenarios.
    Other board members ignored this.

    See clip: “2022.07.05_LPMI_ExComm_Intro_remarks_notice_not_considered.mp4” provided with
    appeal.
    Later in the meeting, he commented that, in general, whatever the convention body does is
    unassailable. However, he stipulated in Q+A that that only holds true as long as it is not against
    the bylaws. Since the appealed actions from the convention were done in violation of the notice
    requirements, they are indeed against the bylaws.

    See clip: “2022.07.05_LPMI_ExComm_55m_8s_Convention_Cant_Break_Bylaws.mp4”




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    Motion of No Confidence
    On 2022.06.19, less than 24 hours after my initial sending of bylaws interpretations, Dave Canny
    sent a Motion of No Confidence to members of the LEC.

           Motion of No Confidence
                 lnbox x   LPILPMI2022 Convention Appeal x        LP/LPMIEmail x



           dave canny <cannyds@gmail.com;,                                                                Sun, Jun 19,5:41 PM
           to Daniel,dist10rep,Bruce,Daniel, Breanna,Paul,Ryan,Steven,Jordan, Rick,Dave, Brandon,Joe, Mike,Norm,Andrew •
                                                                                                                                  *
           LEC Officers and Members,


           In accordance wrth Libertarian Party of Michigan Bylaws, Section Ill - 1o, I am on this date advising the Libertarian Party of Michigan
           Executive Committee (EC) and all members of the State Party of my intention to introduce a Motion of No Confidence and the
           subsequent removal of the Party Chair, Andrew Chadderdon, at the Summer Convention in July.


           Currently the state party is divided to the point of being ineffective, creating a working environment that has resulted in numerous
           members, especially new members, leaving in frustration. In addition, rt has been determined that our bylaws are insufficient and
           that situation must be addressed immediately. It is imperative that, at convention, the party members as a whole fulfill their right and
           obligation to select or approve or a party chair by vote of the entire body. This vote will determine if there is majority support for an
           unelected chair and eliminate a cause of division going forward.


           I propose that that Andrew Chadderdon has failed to fulfill his fiduciary duty in his role as 2nd Vice Chair by failing to create a
           productive environment within the LEC, supported by evidence that other members have refused to work wrth him and have even
           left the party in frustration, rendering us less effective and diverse as a party. This behavior will prevent Andrew from executing the
           duties as party chair as required going forward.

           This motion is intended to be, and in accordance with our bylaws is, the most effective option to put the choice of party leadership in
           the hands of its members. I hope that Andrew, understanding the importance of bridging our gaps and having a majority supporting
           party leadership going forward, w,11not oppose this motion.

           I ask that the Secretary confirm that this communication meets any and all notification requirements for introducing the motion at
           convention ..



           In Liberty,
           Dave Canny
           District 5 Representative
           Genesee County Affiliate Chair



    After Dave’s request to send the notice to the whole party, it was originally requested by the
    secretary to send the notice (requested to Comm Director). After pushback from the chair
    regarding the legitimacy of the requirements to send the notice, the secretary ultimately decided
    against taking action force the sending of the notice on those grounds. Following the notice not
    being sent, Dave Canny decided to manually send the notice to all members of the party, absent
    any formal authorization from the chair, secretary, comms director, or LEC.




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     MGmail                                                                                                                                                                                    Andrew Chadderdon <andrew.chadderdon@gmail.com>



     Motion of No Confidenceto Removethe Chair and Officer Electionsat Convention
     dave c.inny <cannyds@gmail.com>                                                                                                                                                                                                    Wed, Jun 29, 2022 at 1:20 PM
     Bee:andrew.cnadderdon@gmail.com

      As the State Party Chair and Communications Director have declined to inform the members at large of a Motion of No Confidence vote to remove the Chair
      and of possible elections to fill other officer vacancies, while only Mises Caucus Members have received this information, I am following the Communication
      Directo~s advise and assuming the responsibility to raise awareness of the motion and probable elections to select officers at convention next week, and
      urging you to come to convention so that your voice can be heard while exercising your rights and obligation as party members. Convention information is
      below. The business meeting on Saturday is FREE as always but you are asked to register in advance. Please come and be heard

      In accordance with Libertarian Party of Michigan Bylaws, Section Ill. 10, I am on this date advising the Libertarian Party of Michigan Executive Committee
      (EC) and all members of the State Party of my intention to introduce a Motion of No Confidence and the subsequent removal of the Party Chair, Andrew
      Chadderdon, at the Summer Convention in July.
      Currently the state party is divided to the point of being ineffective, creating a working environment that has resulted in numerous members, especially new
      members, leaving in frustration. In addition, it has been determined that our bylaws are insufficient and that situation must be addressed immediately. It is
      imperative that, at convention, the party members as a whole fulfill their right and obligation to select or approve of a party chair by vote of the entire body.
      This vote will determine if there is majority support for an unelected chair and eliminate a cause of division going forward.
      I propose that that Andrew Chadderdon has failed to fulfill his fiduciary duty in his role as 2nd Vice Chair by failing to create a productive environment within
      the LEC, supported by evidence that other members have refused to work with him and have even left the party in frustration, rendering us less effective and
      diverse as a party. This behavior will prevent Andrew from executing the duties as party chair as required going forward.
      This motion is intended to be, and in accordance with our bylaws is, the most effective option to put the choice of party leadership in the hands of its
      members. In conversation with Andrew, he understands the importance of bridging our gaps and having a majority supporting party leadership going forward,
      and does not intend to oppose this motion from being heard and voted on.


      in liberty,

      Dave Canny
      Genesee County Affiliate Chair
      LEC 5th District Representative




        Please register ASAP! Registration for the business meeting on Saturday, July 9th will
        remain open until the day of the convention but a good count is needed in advance to help
        the convention committee plan. If you would like to join us for the banquet on Saturday
        night or for any other meals, please be sure to get registered today


        https://michiganlp.org/event/2022-lp-michigan-summer-convention-2022-07-08/




    Both notices make a claim that I have failed to perform fiduciary duties as 2nd Vice Chair, and
    therefore should be removed as Chair. However, he states specifically in his email that he means
    simply to utilize it as the only means available to force an election of a chair that he believes is
    “owed”. The fact that this appeared to be the only means available to force that outcome should’ve
    perhaps been a sign that this outcome was not legitimate.

    He further reiterates this in a post on Discord on the same day:

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    At the July 9 Convention, Dave introduced a further modified motion, citing specific claims of
    failures of duty.
                      -   .JUC   ~ CIC\.,lCU


     •   Motion of No Confidence in Andrew Chadderdon (by Dave Canny)
            o 2nded
              WHEREAS I ibertarian Party of Michigan Chair Mr. Andrew Chadderdon while serving as Political Director failed to fulfill his fiduciary duty defined in the LPM
              bylaws as wrecruiting candidates for public office and helping them organize their campaigns.Q;

              WHEREAS Mr. Chadderdon delayed prope~y notifying the Secretary of State and the Bureau of Elections of the July 9th convention which would have invalidated
              the slate of candidates requiring a former Executive Committee member to ensure the task was performed;

              WHEREAS, Mr. Chadderdon has knowingly failed to provide notice to members and delegates of elections to fill Executive Committee vacancies at the July 9th
              Convention·

              WHEREAS Mr. Chadderdon delayed providing a business agenda for the July 9th Convention in a timely manner to be distributed to membership and delegates;

              WHEREAS, Mr. Chadderdon has failed to foster a cooperative environment within the Executive Committee and has added temsion to its operations by the
              introduction of a Sergeant at Arms and threats of dismissal from meetirgs to members of the ~

              WHEREAS, Mr. Chadderdon has consistently used the Bylaws and Robert's Rules as a weapon against those who oppose him rather than using them as a tool to
              facilitate cooperation·

              WHEREAS, Mr. Chadderdon has sought to retain Legal Counsel on behalf of the Party, in a manner that would give him unilateral control of the arrangement
              despite his direct conflict o,f ~

              WHEREAS, in accordance with our bylaws, a motion of no confidence is the appropriate and most effective option to put the clhoice of party leadership in the
              hands of its~

              WE HEREBY SUBMIT, a Motion of No Confidence to remove Mr. Andrew Chadderdon from the Libertarian Party of Michigan Executive Committee and the office
              of Chair of the LPM immediately upon passage of this motion requiring as detailed in the bylaws the elevation of First Vice Chair to Chair.



    Each of the “Whereas” statements in this claim, where they are not completely subjective and
    biased, are demonstrably false.

          -        Candidate training sessions were held on May 16, and June 14, with more scheduled before
                   and after convention. Evidenced by notices sent to entire party via Communications
                   Director announcements


                                                                               LIBERTARIAN
                                                                               ,,,.rrar     MICHIGAN

                                                    LPMI Candidate Training
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                          o See addendum B for party email announcing second training (combined with
                            convention notice)
          -        I had maintained a list of 45 prospective candidates that I maintained regular outreach to.
                   Many of them were new to the party, and several ultimately ran for office.
          -        The notice claims that I failed to properly notify the Bureau of Elections of the convention
                   date. This is false, and no effort was made to confirm this claim by even asking me before
                   it was included in this motion. I sent notice on June 5 and and a follow up on June 13, with
                   both seeking confirmation of receipt. The confirmation was never received.



                                                                                                                                                               PAGE 7
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                o   Mary Buzuma contacted Dan Ziemba about sending a notice on June 20. Since I
                    had been looking for a confirmation of receipt from the Bureau of Elections, I
                    welcomed another notice to be sent. It was wrongly assumed from the fact that I
                    did not stop Mary and Dan from sending a notice, that no previous notice had
                    been sent.
                              Re: Appointment Request: Libertarian Party of Michigan - Filing for Candidates Nominated at Convention



                      Subject: Re: Appointment Request: Libertarian Party of Michigan - Filing for Candidates Nominated at
                      Convention
                      From: Andrew Chadderdon <andrew.chadderdon@gmail.com>
                      Date: 6/13/2022, 7:06 AM
                      To: elections@michigan.gov
                      CC:Andrew Chadderdon <vcpoliticaldirector@michiganlp.org>, Tim Yow <chair@michiganlp.org>,
                      Secretary LPM <secretary@michiganlp.org>

                      Hello,
                      I am following up on my previous inquiry about scheduling an appointment on Monday Jul 11 to
                      submit candidate nominations for the Libertarian Party of Michigan. Also if you can refer to the
                      earlier email, I was wondering if you can provide any guidance for a couple particular parts of the
                      process as well.

                      Thank you very much,
                      Andrew Chadderdon
                      Libertarian Party of Michigan
                      Political Director/ 2nd Vice Chair

                      On Sun, Jun 5, 2022 at 10:46 PM Andrew Chadderdon <vcpolitica1director@michig~~g>                           wrote:
                       Hello,

                        The Libertarian Party of Michigan is having its candidate nominating convention on July 9th 2022,
                        and I would like to make an appointment for Monday July 11 to make filings for candidates
                        nominated to be on the ballot in the Nov 2022 election.

                        Can you please let me know what the process will be? What forms must be submitted for each
                        nomination, etc? Also, is it possible for tiling documents for a candidate at a county level to be tiled
                        at the state offices in Lansing in the same appointment?

                        Thank you,
                        Andrew Chadderdon
                        LPMI - 2nd Vice Chair Political Director
                 o
        -   There was insufficient time to properly give notice to hold elections from the day that the
            resignations occurred to be included in the July 9 convention (first resignation occurred on
            June 14, less than 30 days prior to the convention).
        -   Business agenda was provided before the convention, and was only delayed to a day or two
            before due to obstruction from hiring a parliamentarian and attorney for proper
            consultation. This left me forced to evaluate much more difficult considerations regarding
            what business was legitimate and take personal responsibility for the interpretations I
            reached and acted on.
        -   It claims that I “weaponized the bylaws”, which is a crude characterization of “following
            them and expecting others to do the same”.
        -   The chair is entitled to act on behalf of the board, absent formal guidance from the LEC, in
            between meetings. The actions to search for a parliamentarian and attorney are well in
            line with that.
        -   The motion itself states that its intention is simply to force an election, which is not in line
            with the bylaw (Article III, Section 10) which authorizes it.

    The convention body was provided false information, and asked to vote on the motion in false
    pretense. This is all in addition to the failure of notice that already renders it invalid.




                                                                                                                                           PAGE 8
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     Appendix
     A1. Email - Libertarian Party of Michigan - Resignations of Chair and 1st Vice Chair - Call
     of Special Meeting



     MGmail                                                                                                                                       Andrew Chadderdon <andrew.chadderdon@gmail.com>



     Libertarian Party of Michigan • Resignations of Chair and 1st Vice Chair• Call of Special Meeting
     Andrew Chadderdon <andrew.chadderdon@gmail.com>                                                                                                                   Sat, Jun 18, 2022 at 7:31 PM
     To: Libertarian Party of Michigan <Ctlair@mictHganlp.org>, Tim Yow <vcaffiliates@mid1iganlp.org>,Andrew Chadderdon<vcpolitiCaldirector@miChiganlp.org>, secretary <secretary@michiganlp.org>,
     treasurer@michiganlp.org, dist1 rep@michiganlp.org, dist2rep@micniganlp.org, dist3rep@michiganlp.org, dist4rep@michigantp.org, dist5rep <dist5rep@michiganlp.org>, dist6rep@michiganlp.org,
     Brian Ellison <dist7rep@michtganlp.org>, distBrep@mictiganlp.org, dist9rep@michiganlp.org, dist10rep <dist10rep@mk:higanlp.org>, dist11rep@michiganlp.org, dist12rep
     <dist12rep@michiganlp.org>, dist1 3reP@michiganlp.org, dist14rep@michiganlp.org
     cc: Daniel Ziemba <dz41iberty@gmail.com>, Connor Nepa <Cjnepo1@gmail.com>, Jessica Fox <jessica@stevenffox.com>

       Hello to everyone,

      After receiving the notification on Wednesday June 15, 2022 from Tim Yow, via the email that contained resignation letters from tne libertarian Party of Micnigan for himself from his position as
      Chair, and for Ben Boren, as 1st Vice Chair, I began to investigate to determine the correct handling of the resignations and succession for the vacant positions

      After a great deal of consultation with several member5-of the state party and informal feedback with a parliamentarian, I have reached the conclusion that upon delivery of Tim Yow and Ben
      Boren's resignations to the Secretary of the Libertarian Party of Michigan that they were immediately effective. The Libertarian Party of Michigan is governed by its bylaws located at
      micniganlp.org/bylaws, a set of Corporate Bylaws, and Articles of Incorporation as a non profit corporation in Michigan, and the latest edition of Robert's Rules of Order. The non profit
      corporation is referenced in our bylaws as the •ubertaran Party of Michigan Executive Committee Inc", for which the Corporate bylaws apply secondarily behind the bylaws located at
      michiganlp.org/bylaws

       The provision that was cited by other members of the executive committee that onry appears to provide for the automatic elevatiOn of the first vice chair only applies in case of removal from the
       board. Since there was no case of attempted removal :,f either Tim Yow or Ben Boren from the board, that bylaw is not applicable

       Therefore, the bylaws are silent about the handling of the resignation of the chair or vice chair and the handling defaults to Robert's Rules 12th edition. According to Robert's Rules, in case of
       any vacancies of chair or vice chair, the holder of each position of chair and vice chairls move up and leave the vacancy at the lowest "ranked" office of the chair and vice chair positions.

       Therefore. it is my conclusion that upon the resignatton of Ben Boren and Tim Yow on June 15, 2022, that the resignations immediately took effect and I, as the 2nd Vice Chair at the time. was
       immediately elevated lo become Chair of the Libertarian Party of Michigan

       Detailed citations of the findings and the corporate documents are attached to this email.

       Lastly, due to the clearly stated intent in the meeting on Monday June 13, 2022 by the LEC to call a special meeting, it is required 10 have the time. date. and specific topics to be covered
       explicitly in the call for a special meeting. Due to the content that was given in the motion for calling the meeting, it would not be in order to cover some topics that were intended to be covered
       During that meeting. we called a meeting for Monday JJne 20, 2022 al 7:30pm to be held to cover the matter of Lapeer County Libertarian Party Affiliation. 1t was intended to cover potentially two
       additional topics, but they weren't included in the meeti-ig notice motion that was passed.

      Therefore. to avoid the problem that we could not otherwise handle the business that we intended, I am calling an additional special meeting, as chair. with 48 hours notice minimum. to be held
      on the same night, Monday June 20, 2022 starting at 8 15pm. The meeting will occur via Zoom at the link located below. The topk:s to be covered at this special meeting will be the business that
      is requested by the convention committee chair that is required to conduct the Jury Candidate Nominating Convention and to consider the affiliation of the Isabella County affiliate. It is my
      understanding that several members of the Isabella Camly affiliate may have withdrawn their request to consider for affiliation In the event the members do not attend, we will not cover that
      item of business.

       Below are the Zoom invite links for bath of the meetings that are planned to be held on Monday June 20, 2022
       For The Special Meeting Called in the June 13. 2022 L=c Meeting·
       Topic: LEG Special Meeting - Lapeer
       Time: June 20, 2022 07:30 PM Eastern Time (US and Canada)
       Join Zoom Meeting
       https://us02web.zoom.us!V87075842097

       For the Special Meeting Called in this Email·
       Topic: LEG Special Meeting - Convention and Isabella
       Time: Jun 20, 2022 08: 15 PM Eastern Time (US and Canada)
       Join Zoom Meeting
       https://us02web.zoom_us!V818763411 04

       3 attachments



                                                 Resignation Email Boren Yow 2022.06.15.png
                                                 252K



       ~    Summary of Handling of Resign;:nion and Succession.docx
            2761K
        ~ Reference    Documents.zip
            5228K




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     A2. Attachment – Summary of Handling of Resignation and Succession.docx

        provided References

            •      Corporate Bylaws Libertarian Party of Michigan Executive Committee Inc. {1040780.2}-c.pdf
            •      Libertarian Party of Michigan Executive Committee, Inc Articles of lncorporation.pdf
            •      Resignation Boren.pdf
            •      Resignation Yow.pdf

        External References

            •      Libertarian Party of Michigan - Bylaws - https:ljmichiganlp.org/bylaws/j
            •      Roberts Rules of Order, 12th edition



        ChairTimYowand 1" ViceChairBenBorensubmittedby emailtheir written resignations(in one emailsent by Tim)to
        the LPMI leadership on Wednesday, June 15, 2022.

        Per Article Ill Section 2 of the Corporate Bylaws, a resignation occurs when a member of the Executive Committee
        submits a written notice to the Secretary.


                        Stttion 2. Resii:nationand RcmO\'al. A din,ctormay rc;,ignby "1'ittcn notice to lhc
            corporation Secretary. A director m:iy be removed only as pro, ided u, the LPM Bylaws for lhe
            rc11l0, al of a member of the Exccuti, c Comm illcc.




        Per Article V Section 2 of the Corporate Bylaws, a resignation is effective upon its receipt (as defined above).


                    Section 2. Term, Removal, and Vacancies. An officer shall hold office for the tenn
            specified in the LPM Bylaws, or until the officer's death, resignalion, or removal as provided in
            the LPM Bylaws. An officer may resign by wriuen notice to the corporation Secre1ary. The
            resignation is effective upon its receipt by the corporation or al a later date specified in the
            notice_




        LPMI Bylaw Chapter 3 Section 10 does not apply to this situation, because it specifically states "if the chair is •so•
        removed", which refers specifically to the case of removal for 3 consecutive absences or for failure to perform his or her
        fiduciary duties. There is no mention of resignation in the context of the bylaw, nor is there any reference to a general
        rule for succession.


          10 A member of the ExE!C\l1,ve
                                     Commnt..

                Committeeor a rr>aJonty              followinga motionfora voteof no oon'"1dence
                                     voteat conventaon                                        AllExecutive
                                                                                                         Committeeme~s                      m1;stbe not'ted
                or the n·en110removeat least 14 dayspnor10:he meet,ng A CongressionadIstnct representativemay be replacedby a mapr.y vote of a
                congress,onard stnct caUCtJs at any state con,ent,on If the cha•        ~ first vice cha , sha assumethecha rand a new I rst vice
                char elected If a Congressional districtrepresentatr.,e
                                                                      resignsor ts soremovedthenthe Execut~·eCommrtteemustr~ace hrn or herwrtha
                person resIdng In the sameCongress,onal    d stnc1.wl>OShaI SOM! ontlfIlle next stateconvention.at wllICht me Ille cauc\JSlo, that
                Congress1onaI d1smc1  Shallse ect a replacementfo, me Daanceof hoS0<he<term.




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      Since the LPMI Bylaws and the corporate Bylaws are silent on details of succession to fill the chair vacancy, it will default
      to RONR.

      Applicable section of RONRare 47:28, 47:29



               r.28         In case of the president's resignation, death, or removal, the
                        ,·ice-president automatically becomes president for the remain-
                        der of the term, w-tlessthe bylaws expresslyprovide other""ise
                        for filling a vacancy in the office of president (sec also 56:32).
               47:29        Some societies elect several vice-presidents in an order of
                       precedence-first, second, third, and so on-in which case the
                       highest-ranking one present has the duty of serving in place of
                       the president when needed. In case of the president's resigna-
                       tion, death, or removal, the first vice-president then automati-
                      cally becomes president (unless, as indicated above, the bylaws
                      expresslyprovide otherwise for the office of president). Likewise,
                      in case of any vice-president's resignation, death, or removal,
                      or upon his or her automatic promotion to a higher office, the
                      next-highest-ranking vice-president, if there is one, is automati-
                      callypromoted (unless the bylaws expressly provide otherwise).
                      Thus, for example, if the first vice-president resigns, the sec-
                      ond ,~ce-president becomes first vice-president, the third ,ice-
                     president becomes second-vice-president, and so on, with the va-
                     cancy to be filJedoccurring in the lowest-ranking vice-presidency.
                     A vice-president cannot decline to take the higher office to which
                     he has been automatically promoted; if unable or um,illing to
                     carry out the duties of the new office, his only recourse is then
                     to submit his resignation, upon the acceptance of which he will
                     no lon er old ei




     A3. Reference Documents
     See the following documents submitted along with the appeal

           •     “Resignation Yow.pdf”,
           •     “Resignation Boren.pdf”,
           •     “Corporate Bylaws Libertarian Party of Michigan Executive Committee Inc.(1040780.2)-
                 c.pdf”,
           •     “Libertarian Party of Michigan Executive Committee, Inc. Articles of Incorporation.pdf”
           •     “RONR 47_28 47_29.jpg”




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     B. Announcement email for convention notice and for 2nd candidate training

            July Convention Registration is OPEN+ MORE                                                                   A
                                                                                                                         V

                  Inbox x     LP x   LP/LPMI 2022 Convention Appeal x   LP/LPMI Email x




      •     Libertarian     Party of Michigan <info@michiganlp.org,
            to Libertarian ...-




            Hello To All of Our Freedom Loving Friends,
                                                                                                Wed, Jun 8, 5:16 PM
                                                                                                                       *

            First, the Libertarian Party of Michigan Nominating Convention will be held Saturday, July 9th and Sunday, July 10th, 2022
            at the Haworth Hotel in downtown Holland. Registration is 01,1ennow! Click the link to get to the information page and then
            click the yellow "Register' button to complete registration. There are many package options available and we are pleased
            to have Justin Amash, Mike Maharrey, and Clint Russell joining us as special guests. We will be hosting an anniversary
            banquet and the Defender of Liberty Awards on Saturday, July 9th. For more information on the awards and on how to
            nominate a defender of liberty, please click here. For further information about the convention. please contact the
            convention committee chair, Jessica Fox. at jessicafox805@gmail.com. Please note that if you are interested in a la carte
            items (printed packet and/or banquet) you wHIneed to click "None" under the packages and the additional options wHI
            appear. As always, the business meeting is free but registration is required.




            Next we have a message from our Polrtical Director, Andrew Chadderdon:

            "Tne Libertarian Party of Michigan will hOld the second session in its series Candidate Training and Support seminars this
            coming Tuesday, June 14th, at 6 30 PM.

            This session will feature a brief recap from the last session, then further discussion about interest to run for office, and
            matching people up to form campaign teams where possible.

            As previously mentioned, my goal for this campaign season is that the party will support candidates to organize a
            CAMPAIGN TEAM that will help them run a more effective and productive campaign. We need to build infrastructure to
            support running for election. Please join us to see what you can do to help the effort.

            It is intended to make the sessions interactive, with questions and answers throughout, and tailor the content to the needs
            of the participants.

            I hope to see you on Tuesday! The Zoom invitation is included below. I will try to schedule 1 more session before the
            upcoming Candidate Nomination Convention, in early July."




            Lastly, the June edition of the LPMI Newsletter is LIVE. This months edition features the aforementioned information in
            regards to the Defender of Liberty Awards, as well as an article discussing corporate subsidies in Michigan. Read it HERE
            today!




            Thank you so much for your continuing support of the Libertarian Party of Michigan in our cause for a Michigan set free in
            our lifetime.

            In Liberty,

            Connor Nepomuceno

            Communications Director, Libertarian Party of Michigan




                                                                                                                                  PAGE 12
